        Case 0:18-mj-06300-AOV Document
                                  CO U 14
                                        RT Entered on FLSD Docket 07/19/2018 Page 1 of 1
                                           M IN UTES
                        U nited States M agistrate Judge Alicia 0 .Valle
                                Courtroom 207-A                                         Date: 7/19/18         Time:11:00a:ml  .



Defendant:Adam Ed ardTongetB) J#:18850-104 Case#:18-6300-AOV
AUSA:CynthiaWood                                            Attorney:JosephRosenbaum,Esq.(Temp)                                   h
Violation: W ire Fraud                                                                                                            $l %
Proceeding: RRC/Prelimanary Hearing/Arraignment      G A Appt:
Bond/PTD Held:C'Yes C No         Recom m ended Bond:
Bond Setat: $100K PSB                                Co-signed by:
 C Surrenderand/ordonotobtainpassports/traveldocs                               Language: English
 r-                                        x'saweek/monthby                      Disposition:
      phone:           x'saweek/monthinperson                                                                         *

 r    Random urine testing by PretrialServices
      Treatmentasdeemednecessary                                                    C)                        -
 r- Refrain from excessive use ofalcohol
 r    Participate inm entalhealth assessment& treatment
                                                                                           *

 C Maintainorseekfull-timeemployment/education                                                                            .
 r Nocontactwithvictims/witnesses                                                   FGYN         .
                                                                                                         .
 r' No firearms                                                                          . .                      x       .
 C Notto encum berproperty                                                       ,j(x                     .
 C M ay notvisittransportation establishm ents
      HomeConfinement/ElectronicMonitoringand/or                                                              .
      Curfew               pm to              am ,paid by
 r Allowances:M edicalneeds,courtappearances,attorneyvisits,
    religious,em ploym ent
 r Travelextended to:
 C' Other:
NEXT COURT APPEARANCE Date:                      Tim e:              Judge:                             Place:

     œ1RECounsel: -Q                         ce             $Q 1q--
izID/.--!nd Hearing:
preli
    m/ArraignorRemoval: % -.($-11 e $cxm Vxtk-
Status Conference RE:
D.
 A.R. tt :t)-I-
              '()                                                              Timeincourt.
  CHK K IFAPPLICABLE:        Forthe reasonsstatedbycounselforthe Defendantand findingthattheendsofjusticeserved by
  granting the ore tenus m otion forcontinuance to hire counseloutweigh the best interestsofthe public & the Defendantin a
  SpeedyTrial,theCourtfindsthatthe period oftimefrom today,through and including                     ,shallbe deemed
  excludable in accordance with the provisions ofthe Speedy TrialAct,18 UK 3161 etseq..

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